Case 1:22-cv-00125-SWS Document 179-1 Filed 08/28/23 Page 1 of 4




      Exhibit 1
   Case 1:22-cv-00125-SWS Document 179-1 Filed 08/28/23 Page 2 of 4




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January 5th, 2021




Esther George, President and Chief Executive Officer
Federal Reserve Bank of Kansas City
1 Memorial Dr.
Kansas City, MO 64198

Dear President George:

I write this letter in support of the application by Avanti Financial Group for a master account
at the Federal Reserve Bank of Kansas City. As Chief Investment Officer of the University of
Wyoming Foundation, a 501(c)(3) organization that manages the University of Wyoming’s
$675 million endowment, I see Avanti solving a problem faced by university foundations and
similar fiduciary asset managers, which is the shortage of institutional-grade custodians and
service providers in the digital asset space.

The Foundation first faced this issue in 2017 when we started accepting bitcoin donations and
found it challenging to find a service provider that could meet our internal control and audit
requirements. It was a time-consuming process, as nearly all the available service providers
were not robust enough or familiar with dealing with institutions and therefore could not be
integrated into our custodian and financial reporting processes. Often, they were not even
audited.

Nonetheless, it was a worthwhile process, and the Foundation has received several digital
asset donations since 2017. In nearly all cases, we immediately liquidated and converted
digital assets into dollars -- but we have additional use cases such as our student run
investment portfolio which I oversee, our blockchain lab described below, and the underlying
foundation investment portfolio. All of these would be best served by having the ability to hold
in custody a portion of these donations and or investments in their native state once
institutional infrastructure becomes available to meet our needs and accounting treatment
for the assets becomes clear.




                    UW Foundation 222 South 22nd Street Laramie, WY 82070-5204
    307) 766-6300 fax: (307) 766-4045 e-mail: foundation@uwyo.edu www.uwyo.edu/foundation
   Case 1:22-cv-00125-SWS Document 179-1 Filed 08/28/23 Page 3 of 4




I would like to share with you a problem we faced in early 2020, surrounding the establishment
of our blockchain research lab. We agreed to accept a large donation of ADA cryptocurrency
to fund a blockchain research lab in our College of Engineering and Applied Sciences, but I
quickly learned that our existing service provider could not service ADA.

I feared this situation would resemble the problems faced by San Francisco State University in
accepting a $22 million digital asset gift in April 2019. I learned about these problems while
participating in the annual Association of Governing Boards “Foundation Leadership Forum”
held in early 2020. Due largely to the lack of institutional infrastructure and lack of
preparedness of crypto industry participants to work with the high fiduciary standards of
university endowments, it took San Francisco State nearly a year to liquidate and convert the
gift to dollars. It also required the involvement of multiple intermediaries (including a different
non-profit organization), each of which likely took a cut of the proceeds that would otherwise
have accrued to the endowment. Moreover, in the nearly year-long time it took to liquidate
the investment, digital asset markets corrected, which led to net proceeds of the donation
being substantially lower than the initial grant -- creating a mismatch of donor intent and
endowment reality.

Luckily in this case, the donor had agreed to top up the donation to make up for any loss, but
that is a tall ask of any donor and it is important to underscore that no foundation portfolio
manager wants to be in the position of reporting a loss due to operational complexity and
delays, which was the case with San Francisco State. When speaking to other university
endowment officers at AGB, we all agreed that the lack of institutional infrastructure is a major
impediment to the ability of nonprofits to accept donations in cryptocurrency form, and to the
investability in the new asset class generally.

It was during this time period that I learned about Avanti and immediately inquired as to
whether the UW Foundation could become an Avanti client and whether the Foundation could
invest in the company. This was an obvious course of action given Avanti’s business plan is to
provide products that would solve real problems for the Foundation and for university
endowments generally.

I led the extensive internal review that culminated in the UW Foundation leading Avanti’s $6
million dollar “angel” fundraising round in May 2020. I represent the angel group of investors
on Avanti’s Board of Directors.

As fiduciaries, we are required to use service providers that meet the standards of our donors,
as spelled out in our donor bill of rights. While technically we are not required to use an SEC
qualified custodian because we are not subject to SEC regulation, we apply similar standards
as a best practice. In our view, there is a significant difference between a bank and a non-bank
custodian. As a matter of policy, we have a strong preference for using a bank as a custodian.
This is equally true for securities as it is for cryptocurrencies in our endowment portfolio.



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    Case 1:22-cv-00125-SWS Document 179-1 Filed 08/28/23 Page 4 of 4




I have been a portfolio manager at various fund management companies for more than three
decades, including at Transamerica Corporation, Tocqueville Asset Management and the
Fortuno Capital/RAEIF funds. Through my network of other portfolio managers at university
endowments, mutual funds, and hedge funds, I have had many conversations about the
evolution of digital asset markets. One of the most important prerequisites that we all agree
needs to happen is the improvement of institutional service providers -- especially brokers and
custodians. Some of these portfolio manager colleagues have indicated an interest in
becoming customers of Avanti, and a few are also interested in investing in the company
precisely because they see that it fills a significant void. Digital assets like bitcoin are emerging
as a new investment asset. This has created both opportunity and the potential for loss.

I am hoping the Kansas City Federal Reserve can help move the process forward. A well-
capitalized, non-lending, 100% reserved bank capable of both digital asset custody and
payments, operating with proper AML and KYC framework within the Federal Reserve system
is exactly what is needed. I believe Avanti is starkly differentiated from other non-depository
fintech companies that are attempting to serve the same market, some of which are
apparently seeking OCC trust bank charters and master accounts. Avanti is meeting the strict
requirements of a bank, including a high capital requirement, a bank-grade compliance
program, deployment of a core banking software system and a management team capable of
bridging digital assets with traditional banking. The Foundation invested in Avanti because it
fills a market need, and we intend                                       to help guide it to meet
the needs of other endowments and foundations.

If you have questions or would like to follow up, please feel free to contact me at
ptreick@uwyo.edu or on my cell at           .

Best,




Philip



        Philip Treick
        Chief Investment Officer
        University of Wyoming Foundation
Marian H. Rochelle Gateway Center
222 South 22nd Street • Laramie, Wyoming 82070

                       www.uwyo.edu/foundation




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